98 F.3d 1335
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Julian Edward ROCHESTER, Plaintiff--Appellant,v.Sallie C. SMITH, Clerk of Court for Oconee County,Defendant--Appellee.
    No. 96-6062.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 20, 1996.Decided Oct. 3, 1996.
    
      Julian Edward Rochester, Appellant Pro Se.  Merl Floyd Code, Sr., CODE, WESTON &amp; MOSLEY, Greenville, South Carolina, for Appellee.
      Before NIEMEYER, HAMILTON, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Appellant failed to provide a transcript of the bench trial at which the district court stated the reasons for denying relief.  See Fed.  R.App. P. 10(b)(2);   Powell v. Estelle, 959 F.2d 22, 26 (5th Cir.), cert. denied, 506 U.S. 1025 (1992).  Moreover, Appellant has failed to state a substantial claim justifying preparation of a transcript at government expense.  28 U.S.C. § 753(f) (1994).  Consequently, we affirm the district court's order.  We deny Appellant's motion for an extension of time to perfect his appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    